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Trial Ex. No.        Bates No.          Date                                     Subject/Description                            Expert/Report
                                                                                                                                   Barnhill
TREX-00001                              9/8/10      BP Deepwater Horizon Accident Investigation Report                             Childs
TREX-00002                              9/8/10      BP Accident Investigation Report Appendices - Case No: 210325                  Barnhill

                BP-HZN-CEC020334 -
TREX-00004      BP-HZN-CEC020340                    Interview with Don Vidrine                                                     Barnhill

                BP-HZN-MBI00021304 -
TREX-00007      BP-HZN-MBI00021347     4/27/10      Brian Morel Interview Notes                                                    Barnhill
                MODUSI 01 0 000001 -
TREX-00088      MODUSI 01 0 000345     4/14/10      ModuSpec Rig Condition Assessment Deepwater Horizon                            Wolfe
                BP-HZN-
                2179MDL00373833 -
                BP-HZN-                             GP 10-35 - Well Operations: Group Practice - BP Group Engineering
TREX-00094      2179MDL00373852                     Technical Practices                                                            Barnhill
                BP-HZN-
                2179MDL00353757 -
                BP-HZN-                             DWGOM - GP 10-45-1 - Working With Pressure (Supersedes GP 10-45) -
TREX-00095      2179MDL00353773        11/18/09     DWGOM: Site Technical Practices                                                Barnhill

                BP-HZN-BLY00094096 -                Boots/Coots - Incident Investigation of Well MC252#1 - Review of 9-7/8" x
TREX-00102      BP-HZN-BLY00094143                  7" Casing Negative Test                                                        Barnhill
                                                    E-Mail - From: Hafle, Mark E Sent: Wed Apr 14 23:09:46 2010 - Subject:
TREX-00126      CON67                  4/14/10      Re: Macondo APB                                                                Barnhill
                BP-HZN-
                2179MDL00269659 -                   GP 10-60 - Zonal Isolations Requirements During Drilling Operations and
                BP-HZN-                             Well Abandonment and Suspension: Group Practice - BP Group
TREX-00184      2179MDL00269673        4/16/08      Engineering Technical Practices                                                Barnhill

                BP-HZN-BLY00107700 -                Macondo #1 - 9 7/8"X 7" Production Casing Design Report - For: Brian
TREX-00186      BP-HZN-BLY00107732     4/18/10      Morel                                                                          Barnhill

                BP-HZN-BLY00104243 -
TREX-00195      BP-HZN-BLY00104239     5/12/10      Handwritten Notes - John Guide Interview                                       Barnhill




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                BP-HZN-
                2179MDL00408005 -
                BP-HZN-                             GP 10-10 - Well Control: Group Practice - BP Group Engineering Technical
TREX-00215      2179MDL00408026                     Practices                                                                       Barnhill
                BP-HZN-
                2159MDL00408005 - BP-
                HZN-
TREX-00215      2159MDL00408026         8/25/09     BP GP 10-10, Well Control Group Practice                                        Childs

                BP-HZN-MBI00037507 -                E-mail from David Sims stating that he can't point to anything TO has done
TREX-00274      BP-HZN-MBI00037508      7/17/07     wrong to cause BOP ram failures                                                 Childs

                BP-HZN-BLY00111497 -
TREX-00284      BP-HZN-BLY00111507      7/29/10     BP Incident Investigation Team - Notes of Interview with Greg Walz              Barnhill
                BP-HZN-                             E-Mail - From: Morel, Brian P Sent: Sat Apr 17 19:27:09 2010 - Subject:
TREX-00287      2179MDL00315248         4/17/10     FW: Lab Tests                                                                   Barnhill

                BP-HZN-BLY00103032 -
TREX-00296      BP-HZN-BLY00103038      7/8/10      Interview with Mark Hafle                                                       Barnhill

                BP-HZN-BLY00061629 -
TREX-00358      BP-HZN-BLY00061643      5/10/10     Jim McKay Handwritten Notes - Brian Morel Interview                             Barnhill

                BP-HZN-BLY00125436 -
TREX-00506      BP-HZN-BLY00125446      6/24/10     Interview with David Sims                                                       Barnhill

             BP-HZN-BLY00061692 -
TREX-00526-A BP-HZN-BLY00061695         8/31/10     Interview with Ronnie Sepulvado                                                 Barnhill
                                                    E-Mail - From: Morel, Brian P Sent: Mon Apr 12 12:21:30 2010 - Subject:
TREX-00529      BP-HZN-MBI00125959      4/12/10     RE: Procedures                                                                  Barnhill
                BP-HZN-
                2179MDL00041229 -
                BP-HZN-                             E-Mail - From: Sepulvado, Murray R Sent: Tue Apr 13 20:32:26 2010 -
TREX-00533      2179MDL00041230         4/13/10     Subject: RE: Rev 1 Procedure                                                    Barnhill




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                                                   E-Mail - From: Morel, Brian P Sent: Wed Apr 14 19:24:50 2010 - Subject:
TREX-00537      BP-HZN-MBI00126982     4/14/10     RE: Forward Ops                                                               Barnhill
                BP-HZN-CEC022433 -
                BPHZN-CEC022434
                BP-HZN-
                2179MDL00405919-
                BP-HZN-                            E-Mail - From: Guide, John Sent: Fri Apr 16 18:27:43 2010 - Subject: FW:
TREX-00543      2179MDL00405920        4/16/10     Additional Centralizers                                                       Barnhill
                BP-HZN-
                2179MDL00249965 -
                BP-HZN-                            E-Mail - From: Morel, Brian P Sent: Fri Apr 16 04:38:03 2010 - Subject:
TREX-00545      2179MDL00249987        4/16/10     Updated Procedure                                                             Barnhill
                                                   E-Mail - From: Sepulvado, Ronald W Sent: Fri Apr 16 12:51:55 2010 -
TREX-00546      BP-HZN-MBI00171869     4/16/10     Subject: Relief Notes                                                         Barnhill

                TRN-USCG_MMS-
                00043810 TRN-
                USCG_MMS-00044078 -
                TRN-USCG_MMS-
                00044107
                TRN-MDL-00286767
                TRN-USCG_MMS-
                000287035 - TRN-
                USCG_MMS-
TREX-00590      000287064                          Transocean Well Control Handbook                                              Childs
                BP-HZN-
                2179MDL00330768 -
                BP-HZN-
TREX-00596      2179MDL00331163        3/31/09     Well Control Handbook                                                         Barnhill

                BP-HZN-IIT-0002370 -
                BP-HZN-IIT-0002741
                BP-HZN-MBI00131953 -               Deepwater Horizon Emergency Response Manual -
TREX-00597      BP-HZN-MBI00132325                 Volume 1 of 2                                                                 Barnhill




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                BP-HZN-IIT-0002370 -
                BP-HZN-IIT-0002741
                BP-HZN-MBI00131953 -               Transocean Deepwater Horizon Emergency Response Manual, Volume 1
TREX-00597      BP-HZN-MBI00132325     2/15/08     of 2, Issue Number 02, Revision Number 04                                     Wolfe
                TRN-USCG-MMS-
                00043810 -
                TRN-USCG-MMS-
                00043818
                TRN-MDL-00286767-
TREX-00667      TRN-MDL-00287075       3/31/09     Well Control Handbook (Revision Date: March 31, 2009)                         Barnhill
                BP-HZN-
                2179MDL00141787 -
                BP-HZN-                            Transocean Deepwater Horizon Operations Manual, Volume 1 of 2,
TREX-00671      2179MDL00142399        12/1/04     Revision Number 02                                                            Wolfe
                BP-HZN-                            E-Mail - From: Guide, John Sent: Thu Apr 15 17:23:50 2010 - Subject: RE:
TREX-00679      2179MDL00312131        4/15/10     Stuff for Paul (TOI)                                                          Barnhill
                HAL-CG0000515 -
TREX-00718      HAL-CG0000527                      Chaisson Tally Book                                                           Barnhill
                HAL_0010815 -                      E-Mail - From: Morel, Brian P Sent: Friday, April 16, 2010 5:05
TREX-00733      HAL_0010818            4/16/10     PM - Subject: Cement Procedure                                                Barnhill
                BP-HZN-CEC011406 -
TREX-00742      BP-HZN-CEC011419       4/20/10     9 7/8" x 7" Foamed Production Casing Design Post Job Report                   Barnhill

                BP-HZN-MBI00195280 -               Group Defined Operating Practice - Assessment, Prioritization and
TREX-00765      BP-HZN-MBI00195301     1/30/09     Management of Risk                                                            Barnhill
                                                   Computer Screen Snapshot - D. Sims' reply E-mail to J. Guide’s E-mail
                BP-HZN-BLY00097031-                Complaining About the Engineering/Operations Confusion, Morel’s
TREX-00795      32                     4/17/10     Concerns, and Cement Spacer Issues                                            Barnhill
                HAL_0502206 -                      National Commission on the BP Deepwater Horizon Oil Spill and Offshore
TREX-00806      HAL_05022062                       Drilling Cement Testing Results                                               Barnhill
TREX-00820                             4/20/10     Deepwater Horizon IADC Report                                                 Barnhill
TREX-00824                             4/28/10     Transcription of Shane Albers Interview Notes                                 Barnhill




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                BP-HZN-MBI00076083 -                E-Mail - From: Morel, Brian P Sent: Thu Nov 12 21:33:45 2009 - Subject:
TREX-00831      BP-HZN-MBI00076085     11/12/09     FW: Drill Collars: Type and Quantity?                                             Barnhill

                BP-HZN-MBI00199222 -                BP-Macondo Lead Impression Tool (LIT) and Lock Down Sleeve (LDS)
TREX-00834      BPHZN-MBI00199253      4/13/10      Running Procedure                                                                 Barnhill

                BP-HZN-BLY00125462 -
TREX-00907      BP-HZN-BLY00125469      7/7/10      BP Investigation Team: Notes of Interview with John Sprague                       Barnhill
                BP-HZN-                             MC 252 #1 - Macondo Production Casing & TA - Forward Planning
TREX-00908      2179MDL00358546        4/14/10      Decision Tree                                                                     Barnhill
                TRN-HCEC-00090493 -
                TRN-HCEC-00090685
                TDD006-000505 -                     Lloyd’s Register Safety Management and Safety Culture/Climate Summary
TREX-00929      TDD006-000697           7/2/10      Review for Deepwater Horizon                                                      Wolfe

                TRN-MDL-0000488930 -                Det Norske Veritas ISM Code Document of Compliance for Transocean
TREX-00953      TRN-MDL-0000488931     4/25/08      Offshore Deepwater Drilling Inc.                                                  Wolfe
                                                    Chief Counsel's Report_2011: National Commission on the BP Deepwater
TREX-00986                              2011        Horizon Oil Spill and Offshore Drilling                                           Barnhill
                BP-HZN-                             E-Mail - From: Morel, Brian P Sent: Sat Apr 17 19:27:09 2010 - Subject:
TREX-00987      2179MDL00315248        4/17/10      FW: Lab Tests                                                                     Barnhill


                BP-HZN-MBI00117976;
                BP-HZN-MBI00118014 -                E-Mail - From: Albertin, Martin L. Sent: Fri Apr 02 16:34:40 2010 - Subject:
TREX-01025      BP-HZN-MBI00118015      4/2/10      RE: Macondo 9-78 LOT FIT Worksheet.xls                                            Barnhill
                BP-HZN-
                2179MDL00016162 -
                BP-HZN-
TREX-01026      2179MDL00016226                     Drilling Fluids Program                                                           Barnhill
                BP-HZN-
TREX-01035      2179MDL00452101                     Daily and Total Drilling Fluid Discharges, Losses and Recovering Volumes          Barnhill
                                                    E-Mail - From: Maxie, Doyle W (MI SWACO) Sent: Tue Apr 20 15:34:08
TREX-01036      BP-HZN-MBI00129100     4/20/10      2010 - Subject: VH                                                                Barnhill



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                BP-HZN-                            E-Mail - From: Albertin, Martin L. Sent: Mon Apr 05 20:10:44 2010 -
TREX-01095      2179MDL00004909        4/5/10      Subject: RE: Macondo Sand pressures                                             Barnhill
                KMI-MDL-002602 -
TREX-01102      KMI-MDL-002647         6/27/06     Kongsberg Safety Philosophy ESD, PSD, and F&G, AIM Safe                         Wolfe
TREX-01105      KMI-MDL-021556         1/28/01     Deepwater Horizon Cause and Effect Matrix                                       Wolfe
                KMI-MDL-001249 -                   Kongsberg - Overview Kongsberg Maritime Safety System (ESD and F &
TREX-01109      KMI-MDL-001264         9/11/10     G) for Deepwater Horizon (RBS8D), Revision A, Version 0.3                       Wolfe
                KMI-MDL-001249 -                   Kongsberg Simrad Operator Manual Fire & Gas Deepwater Horizon,
TREX-01111      KMI-MDL-001264         2/15/01     Revision A (As-built)                                                           Wolfe
                TRN-HCEC-00027279 -
                TRN-HCEC-00027295
                TRN-MDL-00069016 -                 Safety System Design Philosophy RBS8D Project “Deepwater Horizon”,
TREX-01118      TRN-MDL-00069032       8/23/00     rev. 2                                                                          Wolfe
TREX-01119                             8/14/89     U.S. Coast Guard Navigation and Vessel Inspection Circular No. 2-89             Wolfe
                                                   E-Mail - From: Morel, Brian P Sent: Thu Mar 18 14:32:36 2010 - Subject:
TREX-01132      BP-HZN-MBI00112983     3/18/10     Macondo - Updated PP/FG and Mud Schedule                                        Barnhill
                                                   E-Mail - From: Hafle, Mark E Sent: Sun Mar 14 14:16:19 2010 - Subject:
TREX-01133      BP-HZN-MBI00110676     3/14/10     RE: FIT or LOT for Bypass                                                       Barnhill
                BP-HZN-                            E-Mail - From: Sims, David C Sent: Wed Mar 10 20:39:57 2010 - Subject:
TREX-01143      2179MDL00852514                    RE: Macondo                                                                     Barnhill
                TRN-USCG_MMS-
                00038807 -
                TRN-USCG_MMS-
TREX-01159      00038854               4/20/10     Event Log                                                                       Childs
                                                   DNV - Final Report for United States Department of the Interior, Volume I
TREX-01164                             3/20/11     (20 March 2011)                                                                 Barnhill
                                                   DNV Final Report Related to Forensic Examination of Deepwater Horizon
TREX-01164                             3/20/11     Blowout Preventer, Volume I                                                     Childs
                                                   DNV - Final Report for United States Department of the Interior, Volume II
TREX-01165                             3/20/11     (20 March 2011)                                                                 Barnhill
                                                   DNV Final Report Related to Forensic Examination of Deepwater Horizon
TREX-01165                             3/20/11     Blowout Preventer, Volume II; Appendices                                        Childs
TREX-01168                                         30 C.F.R. § 250.446                                                             Childs
TREX-01169                                         American Petroleum Institute Recommended Practices 53                           Childs




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                TRN-HCJ-00122173 -
                TRN-HCJ-00122175
                TRN-MDL-00266675 -                       Deepwater Horizon BOP Major Component Refurbishment and Major
TREX-01172      TRN-MDL-00266678                         Maintenance Completed                                                         Childs
                TRN-HCJ-00122186 -
                TRN-HCJ-122189
                TRN-MDL-002666688 -
TREX-01173      TRN-MDL-00266691                         Deepwater Horizon Rig Move Maintenance Review                                 Childs
                TRN-HCJ-00127855 -
                TRN-HCJ-0027860
                TRN-MDL-00272357 -
TREX-01176      TRN-MDL-00272362                         Horizon Ram Cavity and Ram Block Measurement History                          Childs
                BP-HZN-
                2179MDL00751677 -
                BP-HZN-
TREX-01183      2179MDL00751690          June 2010       E-mail from Billy Stringfellow Attaching DNV Recertification of BOP           Childs
TREX-01193                             February 2010     Rig Move Work List                                                            Childs
                CAM_CIV_0003181 –
TREX-01199      CAM_CIV_0003190            1/1/08        Cameron EB 702 D – Shearing Capabilities of Shear Rams                        Childs
                BP-HZN-
                2179MDL00876814 -
                BP-HZN-                                  E-Mail - From: Bodek, Robert Sent: Fri May 07 00:32:18 2010 - Subject:
TREX-01210      2179MDL00876816            5/7/10        Re: 14" MoC Document                                                          Barnhill
                BP-HZN-
                2179MDL00011120 -
                BP-HZN-                                  E-Mail - From: Paine, Kate (QuaDril Energy LT) Sent: Fri Mar 19 05:06:10
TREX-01234      2179MDL00011122           3/19/10        2010 - Subject: FW: Lesson learned - Plan forward: Macondo                    Barnhill

                BP-HZN-MBI00126338 -                     E-Mail - From: Bodek, Robert Sent: Tue Apr 13 13:43:50 2010 - Subject:
TREX-01241      BP-HZN-MBI00126339         4/13/10       RE: Macondo TD                                                                Barnhill
TREX-01300                             September 2004    West Engineering Shear Ram Capabilities Study                                 Childs
TREX-01339                                 3/15/10       Application for Bypass                                                        Barnhill
                BP-HZN-
TREX-01344      2179MDL00058858            4/3/10        DWH PPFG Report                                                               Barnhill




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                BP-HZN-
                2179MDL00259139
                BP-HZN-
                2179MDL00259157 -
                BP-HZN-                              Drilling Contract, RBS-8D Semisubmersible Drilling Unit, between Vastar
TREX-01356      2179MDL00259159        12/9/1998     Resources, Incorporated and R&B Falcon Drilling, Contract No. 980249          Childs
                                                     E-Mail - From: Guide, John Sent: Thu Apr 15 02:48:20 2010 - Subject: Re:
TREX-01361      BP-HZN-MBI00253828      4/15/10      Meeting                                                                       Barnhill

                BP-HZN-MBI00222540 -
TREX-01364      BP-HZN-MBI00222541                   E-Mail - To: Guide, John - Subject: RE: call                                  Barnhill

                BP-HZN-BLY00163802 -
TREX-01376      BP-HZN-BLY00163902                   Drilling and Well Operations Practice - E&P Defined Operating Practice        Barnhill
                HAL_0010699 -
                HAL_0010720
                HAL_0117330 -                        Macondo #1 - 9 7/8" x 7" Production Casing Design Report - For: Brian
TREX-01388      HAL_0117351             4/15/10      Morel                                                                         Barnhill

                BP-HZN-MBI00128655 -                 E-Mail - From: Morel, Brian P Sent: Sun Apr 18 13:42:56 2010 - Subject:
TREX-01390      BP-HZN-MBI00128657      4/18/10      RE: Lab Tests                                                                 Barnhill
                TRN-HCEC-00004727 -
                TRN-HCEC-00005236
                TRN-MDL-00046464 -                   Transocean Health and Safety Policies and Procedures Manual, Issue
TREX-01449      TRN-MDL-00046973       12/15/09      Number 03, Revision 07                                                        Wolfe
                TRN-HCEC-00006423 -
                TRN-HCEC-00006783
                TRN-MDL-00048160 -                   Transocean Deepwater Horizon Emergency Response Manual, Volume 1
TREX-01453      TRN-MDL-00048520        8/31/08      of 2, Issue Number 02, Revision Number 06                                     Wolfe
                TRN-USCG-MMS-
                00043810 -
                TRN-USCG-MMS-
                00044205
                TRN-MDL-00286767 -
TREX-01454      TRN-MDL-00287162                     Transocean - Well Control Handbook                                            Barnhill



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                BP-HZN-IIT-0009274 -
                BP-HZN-IIT-0009279
                BP-HZN-MBI00136940 -
TREX-01455      BP-HZN-MBI00136945     4/19/10     Deepwater Horizon IADC Report                                            Barnhill
                BP-HZN-
                2179MDL00414144;
                BP-HZN-
                2179MDL00417995 -
                BP-HZN-
                2179MDL00417996;
                BP-HZN-
                2179MDL00418722 -                  Sperry Sun - Surface Time Log E-Mail - From: Greg Navarette
                BP-HZN-                            Sent: Wed Apr 21 22:02:49 2010 - Subject: Various Logs and ASCII
TREX-01500      2179MDL00418723        4/20/10     Data                                                                     Barnhill
                BP-HZN-
                2179MDL01016932 -
                BP-HZN-                            GP 10-15 - Pore Pressure Prediction: Group Practice - BP Group
TREX-01513      2179MDL01016950                    Engineering Technical Practices                                          Barnhill
                BP-HZN-
                2179MDL00408027 -
                BP-HZN-                            GP 10-16 - Pore Pressure Detection During Well Operations: Group
TREX-01514      2179MDL00408043                    Practice - BP Group Engineering Technical Practices                      Barnhill
                BP-HZN-
                2179MDL00408286 -
                BP-HZN-                            GP 10-75 - Simultaneous Operations: Group Practice - BP Group
TREX-01575      2179MDL00408296        4/16/08     Engineering Technical Practices                                          Barnhill
                BP-HZN-
                2179MDL00179308
TREX-01690      SLB-EC-000909                      Cost to complete CBL                                                     Barnhill
                                                   MC 252 #1 (Macondo): TD Forward Plan Review: Production Casing & TA
TREX-01692                             4/15/11     Options                                                                  Barnhill
                BP-HZN-CEC022145 -                 MC 252 #1 (Macondo): TD Forward Plan Review: Production Casing & TA
TREX-01699      BP-HZN-CEC022153                   Options                                                                  Barnhill




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                HAL_0011208 -                      Gagliano email to Cocales, Vidrine, Rig, Guide, Morel, Hafle, Walz,
TREX-01704      HAL_0011221            4/18/10     etc. re: Updated Info for Prod Casing Job                                       Barnhill
                BP-HZN-
                2179MDL00643468 -
                BP-HZN-                            GP 10-40 - Drilling Rig Audits and Rig Acceptance: Group Practice - BP
TREX-01721      2179MDL00643481        6/11/08     Group Engineering Technical Practices                                           Barnhill

                TRN-HCJ-00128051 -                 Det Norske Veritas Safety Management Certificate for Deepwater Horizon
TREX-01776      TRN-HCJ-00128052       7/11/07     issued under the authority of the Republic of the Marshall Islands              Wolfe


                BP-HZN-SNR00019040 -               Galiano reply email to Morel, Hafle, Cocales, Walz re: Revised
TREX-01804      BP-HZN-SNR00019041     4/17/10     OptiCem Report with additional centralizers (4/17/10)                           Barnhill
                BP-HZN-                            E-Mail - From: Morel, Brian P Sent: Fri Apr 16 20:20:45 2010 -Subject: RE:
TREX-01809      2179MDL00250582        4/16/10     Cement Procedure                                                                Barnhill
                BP-HZN-
                2179MDL00249967 -
                BP-HZN-                            MC 252 #1 (Macondo): TD forward Plan Review: Production Casing & TA
TREX-01810      2179MDL00249987        4/15/10     Options                                                                         Barnhill
                                                   E-Mail - From: Morel, Brian P Sent: Sun Apr 18 17:09:05 2010 - Subject:
TREX-01816      BP-HZN-BLY00070087     4/18/10     Re: Negative Test                                                               Barnhill
                BP-HZN-
                2179MDL00033637 -                  E-Mail - From: Rodriguez, Angel Sent: Tue Mar 30 01:03:37 2010 -
                BP-HZN-                            Subject: Deepwater Horizon's Rig Audit close out report status (includes
TREX-01832      2179MDL00033638[3]     3/30/10     attached Deepwater Horizon BP CMID Audit Work List)                             Wolfe

                BP-HZN-BLY00087011 -               Email from Steve Robinson to James Wetherbee addressing BOP
TREX-01868      BP-HZN-BLY00087015      5/1/10     Switching Failures                                                              Childs

                BP-HZN-BLY00294826 -
TREX-01869      BP-HZN-BLY00294833                 Application for Revised New Well                                                Childs
                TRN-HCEC-00077244 -
                TRN-HCEC-00077250
                TRN-MDL-00118981 -
TREX-01870      TRN-MDL-00118987       3/14/06     Transocean Change Proposal, MOC SS-016                                          Childs



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                BP-HZN-OIG00045764 -
TREX-01876      BP-HZN-OIG00045784     8/25/09     BP GP 10-10, Well Control Group Practice                                        Childs



                BP-HZN-BLY00000141 -
                BP-HZN-BLY00000180
                BP-HZN-BLY00299387 -
                BP-HZN-BLY00299393
                BP-HZN-BLY00000758 -
TREX-01878      BP-HZN-BLY00000760                 Bly Report, Analysis 5D. The Blowout Preventer Did Not Seal the Well            Childs

                BP-HZN-BLY00296547 -
TREX-01880      BP-HZN-BLY00296548                 Solenoid 103 – Did it Really Fail?                                              Childs

                BP-HZN-BLY00294766 -               Deepwater Horizon Follow Up Rig Audit, Marine Assurance Audit and Out
TREX-01887      BP-HZN-BLY00294825     9/30/09     of Service Period September 2009                                                Wolfe
                BP-HZN-CEC029558 -
TREX-01890      BP-HZN-CEC029566       6/30/03     BP Incident Report: Drift Off and Emergency Riser Disconnect                    Childs
                BP-HZN-
                2179MDL00000884 -
                BP-HZN-
TREX-01896      2179MDL00000911                    Application for Permit to Drill a New Well                                      Childs
                APC-SHS2A-
                000001082 -
                APC-SHS2A-
TREX-01919      000001084              8/28/09     BP - Authorization for Expenditure (AFE) to Anadarko                            Barnhill

                BP-HZN-BLY00110007 -               E-Mail - From: Reiter, Doris Sent: Sun Apr 11 14:26:40 2010 - Subject: RE:
TREX-01962      BP-HZN-BLY00110008     4/11/10     Macondo Update and Forward Plan Awareness                                       Barnhill
                BP-HZN-
TREX-01967      2179MDL00059632         4/5/10     DWH PPFG Report                                                                 Barnhill




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                BP-HZN-
                2179MDL00272297 -
                BP-HZN-                            E-Mail - From: Morel, Brian P Sent: Mon Apr 12 17:57:25 2010 - Subject:
TREX-01968      2179MDL00272317                    Rev 1 Procedure                                                                 Barnhill

                BP-HZN-BLY00125127 -               E-Mail - From: Morel, Brian P Sent: Mon May 24 17:30:01 2010 - Subject:
TREX-02010      BP-HZN-BLY00125135     5/24/10     FW: Updated Info for Prod Casing job                                            Barnhill
TREX-02033                             6/11/10     Telephone Interview of Jesse Marc Gagliano                                      Barnhill
                HAL_0010336 -                      Macondo #1 - 9 7/8" x 7" Production Casing Design Report - For: Brian
TREX-02040      HAL_0010354            4/14/10     Morel                                                                           Barnhill
                BP-HZN-
                2179MDL00011184 -
                BP-HZN-                            E-Mail - From: Hafle, Mark E Sent: Fri Apr 16 14:30:35 2010 - Subject: RE:
TREX-02042      2179MDL00011185        4/16/10     Production Casing and Design Proposal & OptiCem Report                          Barnhill

                BP-HZN-BLY00130264 -
TREX-02158      BP-HZN-BLY00130268     4/20/10     Interview of Lee Lambert - 10am April 29, 2010 (with Handwritten Notes)         Barnhill
                BP-HZN-
                2179MDL01340115 -
                BP-HZN-
TREX-02200      2179MDL01340134         8/4/04     bp - NAX - DW Gulf of Mexico Deepwater Well Control Guidelines                  Barnhill
                BP-HZN-                            E-Mail - From: Morel, Brian P Sent: Tue Apr 13 12:13:29 2010 - Subject:
TREX-02242      2179MDL00045111        4/13/10     FW: Macondo                                                                     Barnhill
                BP-HZN-
                2179MDL00368642 -
                BP-HZN-
TREX-02386      2179MDL00368768                    BP GoM Deepwater SPU - Well Control Response Guide                              Barnhill
                BP-HZN-
                2179MDL00335948 -
                BP-HZN-
TREX-02389      2179MDL00336409                    Well Control Manual - December 2000 Issue 3                                     Barnhill
                BP-HZN-
                2179MDL00336410 -
                BP-HZN-
TREX-02390      2179MDL00336757                    Well Control Manual - December 2000 Issue 3                                     Barnhill



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                BP-HZN-
                2179MDL00336758 -
                BP-HZN-
TREX-02391      2179MDL00336889                    Well Control Manual - December 2000 Issue 3                                  Barnhill
                HAL_0010648 -                      E-Mail - From: Morel, Brian P Sent: Thursday, April 15, 2010 4:00 PM
TREX-02580      HAL_0010650            4/15/10     Subject: RE: OptiCem Report                                                  Barnhill

                BP-HZN-MBI00129068 -
                BP-HZN-MBI00129069
                BPD107-217469 -                    E-Mail - From: Morel, Brian P Sent: Tue Apr 20 14:31:49 2010 - Subject:
TREX-02584      BPD107-217470          4/20/10     RE: Circulation                                                              Barnhill
                BP-HZN-
                2179MDL02319416 -
                BP-HZN-                            Letter to Naoki Ishii from Michael Beirne dated 3/29/10; Re: Second
TREX-02846      2179MDL02319419                    Supplemental AFE #X2-000X8                                                   Barnhill
TREX-02879      DWHMX00108110          1/27/10     BP Supplemental Authorization for Expenditure                                Barnhill

                BPD106-000592 -
                BPD106-000608
                BP-HZN-BLY00061768 -
TREX-03036      BP-HZN-BLY00061784      5/4/10     Tabler Tally Book - From Tabler Interview 5/4/10                             Barnhill
                TRN-MDL-01100247 -                 ABS Survey Manager Survey Status Report (For Owner) Deepwater
TREX-03074      TRN-MDL-01100318        5/1/10     Horizon                                                                      Wolfe
                TRN-MDL-00171605
TREX-03075      TRN-MDL-00171893                   Deepwater Horizon Licensing Information from ABS                             Wolfe
                                                   DNV Addendum to Final Report Related to Forensic Examination of
TREX-03124                             4/30/11     Deepwater Horizon Blowout Preventer                                          Childs
TREX-03130      016862 - 016902                    Laboratory Notebook from DNV Testing                                         Childs
TREX-03139                             5/27/11     DNV, Solenoid 103 Original Wiring Connections                                Childs
                                                   DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Sheet-
TREX-03148                             6/15/11     Test of Blue SEM Batteries                                                   Childs
                CAM_CIV_0225658 -
TREX-03167      CAM_CIV_0225660        5/14/10     E-mail from David McWhorter Re Shear Testing
                                                   Cameron Product Advisory #12114, EB 702 D Update Regarding Shearing
TREX-03168      CAM_CIV_0012630        6/21/07     Capabilities of Cameron Shear Rams                                           Childs



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                                                        Cameron Safety Alert 22070, DNV Issues Final Report for U.S. Department
                CAM_CIV_0130520 -                       of the
TREX-03175      CAM_CIV_0130521           3/31/11       Interior, Forensic Examination of the Deepwater Horizon Blowout Preventer      Childs

                BP-HZN-BLY00061514 -
TREX-03188      BP-HZN-BLY00061517        4/28/10       Bob Kaluza Interview (marked "Confidential")                                   Barnhill
                BP-HZN-
                2179MDL00321874 -
                BP-HZN-                                 E-mail from Patrick L. O'Bryan to Mike Zanghi; Date: April 27, 2010;
TREX-03190      2179MDL00321875                         Subject: RE: Bladder effect                                                    Barnhill
                BP-HZN-
                2179MDL00015194 -
                BP-HZN-                                 E-mail from Leo Lindner to Robert Kaluza; Subject: Macondo Displacement
TREX-03196      2179MDL00015195           4/20/10       Procedure (marked "Confidential")                                              Barnhill
TREX-03203                                              Cathleenia Willis Interview Notes                                              Barnhill
                TRN-MDL-01120767 -
TREX-03259      TRN-MDL-01120777          5/16/07       Transocean Subsea Maintenance Philosophy                                       Childs
                TRN-MDL-01086873 -                      Letter from Pharr Smith Related to Transocean’s BOP Maintenance
TREX-03276      TRN-MDL-01086874          6/18/10       Philosophy                                                                     Childs
                TRN-MDL-01119375 -
TREX-03279      TRN-MDL-01119381          8/31/10       E-mail from Pharr Smith to Rob Turlak Re Recertification                       Childs
                TRN-MDL-00494920 -                      WEST Engineering Services, Inc. Evaluation of Secondary Intervention
TREX-03298      TRN-MDL-00495005          3/18/03       Methods in Well Control for US Minerals Management Service                     Childs
                TRN-INV-00103130 -
TREX-03335      TRN-INV-00103136          3/14/06       Transocean – Change Proposal SS-016; Approved                                  Childs
                TRN-HCEC-00007822 -                     Deepwater Horizon TL BOP Stack Operation & Maintenance Manual, Initial
TREX-03343      TRN-HCEC-00008055      September 2000   Release, Rev. A                                                                Childs

                BP-HZN-BLY00140873 -                    Gulf of Mexico SPU Technical Memorandum Post-Well Subsurface
TREX-03375      BP-HZN-BLY00140910                      Description of Macondo well (MS 252)                                           Barnhill


                BP-HZN-OSC00005378 -
TREX-03532      BP-HZN-OSC00005418        7/26/10       Gulf of Mexico SPU; Technical Memorandum                                       Barnhill



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                                                     E-mail string, most recent e-mail from Galina Skripnikova to Robert Bodek,
                                                     et al., dated Tue Apr 13 16:57:04 2010; Subject: RE: Top hydrocarbon
TREX-03538      BP-HZN-MBI00126430      4/13/10      bearing zone?                                                                 Barnhill
TREX-03540                              4/10/10      Triple Combo Log                                                              Barnhill
TREX-03541                              4/11/10      Laminate Sand Analysis                                                        Barnhill
                                                     Email from Ronald Sepulvado to John Guide Dated April 25, 2010; Subject:
TREX-03565      BP-HZN-BLY00072942      4/25/10      Negative Test, marked as Confidential                                         Barnhill
                TRN-HCJ-00121085 -                   Interview of Robert Kaluza, Well Site Leader, April 23, 2010, marked as
TREX-03572      TRN-HCJ-00121096        4/23/10      Confidential                                                                  Barnhill

                BP-HZN-BLY00045995 -                 Notes from Interview of Robert Kaluza by Keith Daigle (marked
TREX-03576      BP-HZN-BLY00045999      4/25/10      "Confidential")                                                                Barnhill
                CAM_CIV_0046703 -                    Cameron Controls, Daily Report Sheet, Subsea Pod Intervention, Horizon,
TREX-03602      CAM_CIV_0046721         5/26/10      BP                                                                             Childs
                CAM_CIV_0003275 -
TREX-03605      CAM_CIV_0003276         9/8/04       Cameron EB 891 D: AMF/Deadman Battery Replacement                              Childs
                BP-HZN-                              E-mail from Mr. Bennett to Mr. Albertin, et al., dated April; 05 10:18:37
TREX-03720      2179MDL00009604         4/5/10       2010; Subject: Macondo Update 5am                                              Barnhill
                BP-HZN-                              E-mail from Mr. Sant to Mr. Albertin, dated April 05 19:41:46 2010; Subject:
TREX-03722      2179MDL00025983         4/5/10       RE: Macondo Sand pressures                                                     Barnhill
                BP-HZN-
                2179MDL00426906                      E-mail string, most recent e-mail from Mr. Albertin to Mr. Johnston, et al.,
TREX-03741      and attachment          4/22/10      dated April 22 02:54:30 2010, Subject: RE: PPFG for Macondo                    Barnhill
                HCG 059-000026
TREX-03746      TRN-MDL-00265612        4/21/10      U.S. Coast Guard Witness Statement of Curt Kuchta                              Wolfe
                TRN-INV-01523282 -
TREX-03795      TRN-INV-01523284       10/25/10      E-mail from Geoff Boughton Re Weekly Report from Michoud                       Childs
                TRN-INV-01798503 -
TREX-03797      TRN-INV-01798507        5/9/10       E-mail from Ron Guidry Re Solenoid Repair and Replacement                      Childs
                TRN-MDL-01547899 -                   Transocean Technical Bulletin – Instructions for Rebuilding Cameron
TREX-03798      TRN-MDL-01547905        9/9/02       Controls Solenoid Valve                                                        Childs
                                                     Macondo Well Incident Transocean Investigation Report, Volume 1, June
TREX-03808                              6/23/11      2011                                                                           Barnhill
TREX-03808                             June 2011     Transocean Investigation Report Volume I                                       Childs
TREX-03948                                           Event Timeline                                                                 Childs



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                                                    Cameron EB 895D: Operating Pressure General Recommendations for
TREX-03952      CAM_CIV_0012821        10/16/07     Annular BOPs                                                           Childs
                BP-HZN-JIT0007175
                BP-HZN-
TREX-03954      2179MDL01155979                     Shear Calculation Spreadsheet                                          Childs
TREX-03976                             10/28/08     Cameron Engineering Report Abstract                                    Childs
TREX-03977      BP-HZN-BLY00362322                  Table Containing Shear Data for Tubulars                               Childs

                BP-HZN-BLY00235651 -
TREX-04006      BP-HZN-BLY00235660                  Application for Revised Bypass                                         Barnhill


                BP-HZN-SNR00000441 -
TREX-04030      BP-HZN-SNR00000450     4/14/10      Application for Revised Bypass                                         Barnhill
                BP-HZN-OGR000748 -
TREX-04044      BP-HZN-OGR000756       4/15/10      Application for Revised Bypass                                         Barnhill
                BP-HZN-OGR000735 -
TREX-04045      BP-HZN-OGR000747       4/15/10      Application for Revised Bypass                                         Barnhill
                BP-HZN-CEC029828 -
TREX-04100      BP-HZN-CEC029829       8/24/06      E-mail from G. Coltrin Re BOP Shear Rams with Shear Data Attached      Childs

                BP-HZN-BLY00103459 -
TREX-04101      BP-HZN-BLY00103461     7/21/10      E-mail from T. Knudsen Re BOP Shear Rams with Shear Data               Childs

                BP-HZN-BLY00353998 -
TREX-04104      BP-HZN-BLY00354001     7/28/10      Terms of Reference – Establishing BOP Shear Capabilities               Childs




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                BP-HZN-MBI00021461 -
                BP-HZN-MBI00021464
                BP-HZN-MBI00021479 -
                BP-HZN-MBI00021480
                BP-HZN-MBI00021507 -
                BP-HZN-MBI00021509
                BP-HZN-MBI00021538 -
TREX-04112      BP-HZN-MBI00021547          12/9/98         Drilling Contract, Vastar and R&B Falcon                                    Childs
                TRN-INV-01138417 -
TREX-04140      TRN-INV-01138422           8/09 - 4/10      RMS for Gas Detection Maintenance, Aug. 2009-Apr. 2010                      Wolfe
                TRN-INV-00842534 -
TREX-04145      TRN-INV-00842536            7/15/10         SPM01-Gas Detector Checks-Work Done Report - 20 Apr 2010                    Wolfe
                TRN-MDL-00079093 -
TREX-04146      TRN-MDL-00079190        1/1/10 - 5/6/2010   RMS II Equipment History, FGDS System (01 Jan 2010 – 06 May 2010)           Wolfe

                                                            April 9, 10, 12, 14, 2010 E-mail String from David Sims to Kemper Howe
                BP-HZN-MBI 00126666 -                       and from Jayne Gates to David C Sims and others Subject: Nile and
TREX-04223      BP-HZN-MBI 00126669          4/14/10        Kaskida 180 day clock, marked as Confidential                               Barnhill
TREX-04248                                   6/23/11        Macondo Well Incident, Transocean Investigation Report, Volume I            Rimkus
TREX-04278                              1/31/10 - 4/18/10   Deepwater Horizon IADC Reports                                              Barnhill
                                                            Macondo Well Incident, Transocean Investigation Report, Volume II
TREX-04304                                  6/23/11         (Appendix)                                                                  Barnhill
TREX-04304                                   6/1/11         Macondo Well Incident,Transocean Investigation Report, Volume II            Childs
TREX-04304                                  6/23/11         Macondo Well Incident, Transocean Investigation Report, Volume II           Rimkus
                TRN-INV-01747000 -
TREX-04306      TRN-INV-017470001           5/13/10         E-mail from P. Smith Re MUX Batteries                                       Childs
                HCG059-000120
                TRN-HCJ-00121062
TREX-04361      TRN-MDL-00265564            4/21/10         U.S. Coast Guard Witness Statement of Steve Bertone                         Wolfe




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                HCG 059-000103-104
                TRN-MDL-00120330 -
TREX-04370      TRN-MDL-00120331       4/21/10      U.S. Coast Guard Witness Statement of Paul Meinhart                        Wolfe
                BP-HZN-
                2179MDL01270743 -
                BP-HZN-                             E-mail from Angel Rodriguez to Murry Sepulvado Dated October 7, 2009
TREX-04377      2179MDL01270920        10/7/09      with BP CMID MODU Annex for Deepwater Horizon, Sep. 2009                   Wolfe
                BP-HZN-
                2179MDL03106206 -
                BP-HZN-
TREX-04423      2179MDL03106207        11/14/01     Email from Michael Byrd to Curtis Jackson and Don Weisinger                Childs

                BP-HZN-BLY00144208 -
TREX-04447      BP-HZN-BLY00144214      7/8/10      BP Incident Investigation Team - Notes of Interview with Mark Hafle        Barnhill
                HCG059-000126
TREX-04469      TRN-MDL-00265400       4/21/10      U.S. Coast Guard Witness Statement of Andrea Fleytas                       Wolfe
                BP-HZN-CEC020266 -
TREX-04506      BPHZN-CEC020275        5/10/10      Brian Morel Interview                                                      Barnhill
                BP-HZN-
                2179MDL00687582 -
                BP-HZN-
TREX-04507      2179MDL00687484         3/4/10      E-mail From Jade Morel to Brian Morel                                      Barnhill
                BP-HZN-
                2179MDL03072952 -
                BP-HZN-
TREX-04538      2179MDL03072954        4/15/10      BP Drilling & Completions MOC Initiate                                     Barnhill
                                                    Transocean Deepwater Horizon Emergency Response Manual, Station Bill,
TREX-04603      TRN-MDL-00527083       6/18/09      Revision 8                                                                 Wolfe
                TRN-MDL-02070932 -
TREX-04645      TRN-MDL-02071196                    Deepwater Horizon Emergency Response Manual, Volume 2 of 2                 Barnhill
                BP-HZN-CEC008683 -
TREX-04751      BP-HZN-CEC0008711      5/13/09      Application for Permit to Drill a New Well                                 Barnhill




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                BP-HZN-
                2179MDL00001748 -
                BP-HZN-
TREX-04752      2179MDL00001763            3/25/10        Application for Revised Bypass                                                  Barnhill

TREX-04776                             4/1/10 - 4/15/10   BP Macondo MC 252 #1 Daily Geological Report, (marked "Confidential")           Barnhill
                BP-HZN-CEC043461 -                        BP Deepwater Horizon Integrated Acceptance Audit, August - September
TREX-06164      BP-HZN-CEC043570           9/14/01        2001                                                                            Wolfe
                BP-HZN-
                2179MDL01797388 -
                BP-HZN-
TREX-06165      2179MDL01797450            1/29/05        BP Deepwater Horizon Technical Audit, January 2005                              Wolfe

                BP-HZN-MBI00050937 -
TREX-06166      BP-HZN-MBI00051018        1/23/08         BP Deepwater Horizon Technical Rig Audit, January 2008                          Wolfe
TREX-07001                                10/30/98        Cameron EB 852D: Shear Ram Product Line                                         Childs
                                                          West Engineering Services: Using BOP at Pressures in Excess of Rated
TREX-07003                                10/10/06        Working Pressure                                                                Childs
TREX-07004      BP-HZN-BLY00063678                        BP Gulf of Mexico – MMS APD Worksheet                                           Childs
TREX-07008                                                Erwin Shearing Calculations                                                     Childs
TREX-07013                                 5/24/11        DNV: Test procedure for wiring of Solenoid 103Y                                 Childs
                CAM_CIV_0079411 –
TREX-07025      79413                     11/11/09        Cameron Customer Contact Report re EB 902D presentation                         Childs
                CAM_CIV_0012825 –
TREX-07030      12829                      2/25/09        Cameron EB 902D: Inspection and Recertification                                 Childs
                                                          BP Incident Investigation Team -- Notes of Interview with John Guide, July
TREX-07085                                 7/1/10         1, 2010 at BP Westlake 1 at 10:30am CDT; 11 pages                               Barnhill

                DNV007-000191                             DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Sheet –
TREX-33008      DNV007- 000193             2/28/11        BOP Solenoid Drop Out and Pick Voltage Test of Yellow Pod 3A Solenoid           Childs
                                                          DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Loaded
                                                          Battery Summary Data Test of Deepwater Horizon Blowout Preventer
TREX-33020                                 3/1/11         Batteries – Yellow                                                              Childs
                                                          Expert Report of Calvin Barnhill - Macondo Engineering, Operations and
TREX-50000                                 9/23/11        Well Control Response                                                           Barnhill



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                                              Attachment A to Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.01                     9/23/11     Operations and Well Control Response                                         Barnhill
                                              Attachment B to Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.02                     9/23/11     Operations and Well Control Response                                         Barnhill
                                              Attachment C to Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.03                     9/23/11     Operations and Well Control Response                                         Barnhill
                                              Attachment D Expert Report of Calvin Barnhill - Macondo Engineering,
TREX-50000.04                     9/23/11     Operations and Well Control Response                                         Barnhill

TREX-50000.05                     9/23/11     Curriculum Vitae - Calvin Barnhill                                           Barnhill

TREX-50000.06                     9/23/11     Fee Schedule - Calvin Barnhill                                               Barnhill

TREX-50000.07                     9/23/11     Materials Considered - Calvin Barnhill                                       Barnhill

TREX-50000.08                     9/23/11     Prior Testimony - Calvin Barnhill                                            Barnhill
 TREX-50001                       9/23/10     Expert Report of Greg Childs - Blowout Preventer (BOP)                       Childs
                                              Attachment A to Greg Childs' Report - Cameron EB 702 D, Rev B10,
TREX-50001.01                                 Shearing Capabilities of Cameron Shear Rams                                  Childs
                                              Attachment B to Greg Childs' Report - Cameron EB702 Shear Calculations
TREX-50001.02                                 Summary by Greg Childs                                                       Childs
                                              Attachment C to Greg Childs' Report - Cameron EB 702 D, Rev B10,
TREX-50001.03                                 Shearing Capabilities of Cameron Shear Rams                                  Childs
TREX-50001.04                                 Curriculum Vitae of E.G.(Greg) Childs, P.E.                                  Childs

TREX-50001.05                                 Figure 1: Cutaway View of Deepwater Horizon BOP Stack Components             Childs

                                              Figure 2: Cameron Blind Shear Rams, Known as Shearing Blind Rams,
TREX-50001.06                                 are Designed to Shear Drill Pipe and Seal the Wellbore                       Childs
                                              Figure 3: Cameron SBR Shown Closed Against 5.5” Drill Pipe;
TREX-50001.07                                 Upper Blade on the Left, Lower on the Right                                  Childs

                                              Figure 4: Cameron Casing Shear Rams, Known as Super Shear Rams,
                                              are Designed to Shear Casing and Larger Tubulars But Do Not Seal the
TREX-50001.08                                 Wellbore                                                                     Childs



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                                             Figure 5: Drill Pipe Tool Joint Lifted by Flow into the Upper Annular BOP
TREX-50001.09                                Element                                                                            Childs
                                             Figure 6: Illustration and Photograph of Drill Pipe Tool Joint Erosion in the
                                             Upper Annular (Photograph Taken During Forensic Examination at
TREX-50001.10                                Michoud)                                                                           Childs
                                             Figure 7: Photograph of Eroded Drill Pipe Tool Joint from the Upper
TREX-50001.11                                Annular (at Michoud)                                                               Childs
                                             Figure 8: DNV’s Three Dimensional Scans of the Drill Pipe Tool Joint from
TREX-50001.12                                the Upper Annular                                                                  Childs
                                             Figure 9: DNV’s Illustration of the Drill Pipe Bowed in the Wellbore. The
TREX-50001.13                                Oval Represents the Blind Shear Ram Cavity.                                        Childs
TREX-50001.14                                Figure 10: Rupture of the Drill Pipe at the Upper Annular                          Childs
TREX-50001.15                                Figure 11: Tensile Failure of the Drill Pipe at the Upper Annular                  Childs
TREX-50001.16                                Figure 12: Eroded BOP Body Area at the Blind Shear Ram                             Childs
TREX-50001.17                                Figure 13: Sheared Drill Pipe Forced Through the Upper Annular                     Childs
TREX-50001.18                                Figure 14: Final Position of the Riser                                             Childs
                                             Figure 15: Stress’ graph showing the upward load on the drill pipe starting
                                             at 21:39.
                                             The load at 21:43:40 when the annular was closed begins to exceed the
TREX-50001.19                                drill pipe weight.                                                                 Childs
                                             Figure 16: Cameron SBR Closing on the Drill Pipe That Was Forced Off-
TREX-50001.20                                Center                                                                             Childs
                                             Figure 17: DNV’s Comparison of the Recovered Drill Pipe Segments and
                                             Final Model
                                             (Left – Viewed facing the Upper BSR Block; Right – Viewed facing Lower
TREX-50001.21                                BSR Block)                                                                         Childs

                                             Figure 18: Left illustration depicts DNV’s model of what the drill pipe could
                                             have looked like. The middle illustration is a model of the actual drill pipe
                                             with the foldover section not shown. The right-most illustration is the laser
TREX-50001.22                                model showing final deformations on the drill pipe.                                Childs
                                             Figure 19: Erosion Damage of the Blind Shear Ram Blocks and the
                                             Wellbore.
                                             (The image on the left is viewed from the kill side, while the image on the
TREX-50001.23                                right is from the opposite direction.)                                             Childs



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                                                Figure 20: DNV Models Showing Drill Pipe Position and Standoff Between
TREX-50001.24                                   the Upper and Lower Blind Shear Ram Blocks                                    Childs
                                                Figure 21: DNV’s Blind Shear Ram Model Showing the 2.2 Inch
TREX-50001.25                                   Standoff Between the Lower Blade and the Blade Packer                         Childs
TREX-50001.26 BP-HZN-OIG00045778                Figure 22: Excerpt from BP’s Best Practices Manual, GP 10-10.                 Childs

                                                Figure 23: Position of the Blind Shear Rams and VBRs Following AMF
TREX-50001.27                                   Activation
                                                Figure 24: Blind Shear Ram ST Lock in the Locked Position Following AMF
TREX-50001.28                                   Activation                                                                    Childs
                                                Figure 25: Data Acquisition Screen Shot from DNV Testing, June 6, 2011,
TREX-50001.29                                   Showing the Pulse Timing.                                                     Childs
                                                Expert Report of Robert M. Scates, Ph. D and John S. Roberts, Ph. D. -
 TREX-50002                                     Gas Dispersion and Ignition                                                   Rimkus
                                                Model of the Gas Dispersion from the Deepwater Horizon (Ansys Fluent
TREX-50002.01                       9/16/11     12.1 (3d, pbns, SPE, rke, transient), Page 3                                  Rimkus
TREX-50002.02                                   Gas Dispersion Model, Page 7                                                  Rimkus
                                                Attachment A to Scates/Roberts Expert Report - Results of Gas Dispersion
TREX-50002.03                       9/23/11     Modeling                                                                      Rimkus
TREX-50002.04                       9/23/11     Attachment B to Scates/Roberts Expert Report - Wind Measurements              Rimkus
                                                Attachment C to Scates/Roberts Expert Report - Vented Hydrocarbon
TREX-50002.05                       9/23/11     Composition                                                                   Rimkus
                                                Attachment D to Scates/Roberts Expert Report - Total Emission Flow and
TREX-50002.06                       9/23/11     Emission Point Flow Distribution                                              Rimkus
                                                Attachment E to Scates/Roberts Expert Report - Supply and Exhaust Fan
TREX-50002.07                       9/23/11     Flows                                                                         Rimkus

TREX-50002.08                       9/23/11     Attachment F to Scates/Roberts Expert Report - Location of Individuals        Rimkus

TREX-50002.09                       9/16/11     Attachment G to Scates/Roberts Expert Report - Hazard Ratings of Areas        Rimkus
                                                Attachment H to Scates/Roberts Expert Report - Location of Combustible
TREX-50002.10                       9/23/11     Gas Sensors                                                                   Rimkus

TREX-50002.11                       9/23/11     Attachment I to Scates/Roberts Expert Report - Location of Air Intakes        Rimkus




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 Trial Ex. No.         Bates No.         Date                                     Subject/Description                        Expert/Report
                                                     Attachment J to Scates/Roberts Expert Report - Wartsila Document
TREX-50002.12                           9/23/11      Regarding Engine Overspeed Devices                                         Rimkus
                                                     Attachment K to Scates/Roberts Expert Report - Damage to Each Deck as
TREX-50002.13                           9/23/11      Documented by Deepwater Horizon Personnel                                  Rimkus
TREX-50002.14                           9/23/11      Curriculum Vitae of Robert M. Scates, Ph.D                                 Rimkus
TREX-50002.15                           9/23/11      Curriculum Vitae of John S. Roberts, Ph. D                                 Rimkus
                                                     Expert Report of Jeff L. Wolfe
                                                     Deepwater Horizon – Seaworthiness, Marine System, and Safety Condition
 TREX-50003                                          on April 20, 2010
TREX-50003.01                                        Curriculum Vitae of Jeff Wolfe
                                                     Figure 1 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
TREX-50003.02                          9/23/2011     Point Locations throughout the Rig                                         Wolfe
                                                     Figure 2 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
TREX-50003.03                          9/23/2011     Point Locations on the Drill Floor and Helideck                            Wolfe
                                                     Figure 3 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
TREX-50003.04                          9/23/2011     Point Locations on the Main Deck                                           Wolfe
                                                     Figure 4 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
                                                     Point Locations on the Second Deck; Green Blocks Represent the Shale
TREX-50003.05                          9/23/2011     Shakers                                                                    Wolfe
                                                     Figure 5 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
                                                     Point Locations on the Third Deck; Yellow Blocks Represent the
TREX-50003.06                          9/23/2011     Engine/Generator Rooms; Blue Blocks Represent the Mud Pumps                Wolfe
                                                     Figure 6 in Jeff Wolfe Expert Report - Alarm Indication Panels on the
TREX-50003.07                          9/23/2011     Deepwater Horizon                                                          Wolfe
                                                     Figure 7 in Jeff Wolfe Expert Report - Photograph of Deepwater Horizon
TREX-50003.08                          9/23/2011     Driller Workstation.                                                       Wolfe
                                                     Figure 8 in Jeff Wolfe Expert Report - Electro-pneumatic Overspeed Trip
TREX-50003.09                          9/23/2011     Device                                                                     Wolfe

TREX-50003.10                          9/23/2011     Figure 9 in Jeff Wolfe Expert Report - Mechanical Overspeed Trip Device    Wolfe
                                                     Figure 10 in Jeff Wolfe Expert Report - Photograph and Diagrams of Rig
TREX-50003.11                          9/23/2011     Saver Device                                                               Wolfe
                 TRN-INV-00734940 -
 TREX-50004      TRN-INV-00735223                    Marianas IADC Reports                                                     Barnhill




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                TRN-INV-00128817 -
TREX-50005      TRN-INV-00771652                   Deepwater Horizon Morning Reports                                          Barnhill
                M-I 00000003;
                M-I 00000011 - M-I
                00000091;
                M-I 00001797;
                M-I 00006194 - M-I
                00006297;
                M-I 00008196 - M-I
                00008224;
                M-I 00008466 - M-I
                00008469;
                BP-HZN-
                2179MDL00756127;
                BP-HZN-                            MI-Swaco Synthetic-Based Mud Reports; Associated Bates Ranges for 3/1
TREX-50006      2179MDL00785999                    - 4/19                                                                     Barnhill
                BP-HZN-
TREX-50007      2179MDL02423083        1/31/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50008      2179MDL01958188         2/1/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50009      2179MDL01263022         2/2/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50010      2179MDL01263012         2/3/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50011      2179MDL01285576         2/4/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50012      2179MDL01262990         2/7/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50013      2179MDL01262985         2/8/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50014      2179MDL01969331         2/9/10     BP Daily Drilling Report                                                   Barnhill
                BP-HZN-
TREX-50015      2179MDL02703407        2/10/10     BP Daily Drilling Report                                                   Barnhill




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Trial Ex. No.        Bates No.         Date                                  Subject/Description   Expert/Report
                BP-HZN-
TREX-50016      2179MDL01899895       2/11/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50017      2179MDL02459652       2/12/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50018      2179MDL01938374       2/13/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50019      2179MDL02669642       2/14/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50020      2179MDL02539254       2/15/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50021      2179MDL02467657       2/16/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50022      2179MDL02042863       2/17/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50023      2179MDL02527614       2/18/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50024      2179MDL03062970       2/19/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50025      2179MDL00006317       2/20/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50026      2179MDL00006262       2/21/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50027      2179MDL02116145       2/22/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50028      2179MDL03775185       2/23/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50029      2179MDL03772688       2/24/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50030      2179MDL03772792       2/25/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50031      2179MDL03772385       2/26/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50032      2179MDL03774634       2/27/10     BP Daily Drilling Report                            Barnhill




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                BP-HZN-
TREX-50033      2179MDL00001908       2/28/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50034      2179MDL00007499        3/1/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50035      2179MDL03773555        3/2/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50036      2179MDL02912103        3/3/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50037      2179MDL03774080        3/4/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50038      2179MDL03772623        3/5/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50039      2179MDL03773306        3/6/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50040      2179MDL03774758        3/7/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50041      2179MDL02636019        3/8/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50042      2179MDL00032054        3/9/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50043      2179MDL03774558       3/10/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50044      2179MDL03772704       3/11/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50045      2179MDL03773330       3/12/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50046      2179MDL00005599       3/13/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50047      2179MDL03773181       3/14/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50048      2179MDL03774773       3/15/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50049      2179MDL03775291       3/16/10     BP Daily Drilling Report                            Barnhill




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                BP-HZN-
TREX-50050      2179MDL03775142       3/17/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50051      2179MDL00014477       3/18/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50052      2179MDL00002849       3/19/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50053      2179MDL00003212       3/20/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50054      2179MDL00024721       3/21/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50055      2179MDL00004855       3/22/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50056      2179MDL01285686       3/23/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50057      2179MDL00016515       3/24/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50058      2179MDL00003061       3/25/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50059      2179MDL00001999       3/26/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50060      2179MDL00002703       3/27/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50061      2179MDL00004326       3/28/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50062      2179MDL00005388       3/29/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50063      2179MDL00002855       3/30/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50064      2179MDL00020996       3/31/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50065      2179MDL00021053        4/1/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50066      2179MDL00010446        4/2/10     BP Daily Drilling Report                            Barnhill




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                BP-HZN-
TREX-50067      2179MDL00011493        4/3/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50068      2179MDL00003449        4/4/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50069      2179MDL00007479        4/5/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50070      2179MDL00004095        4/6/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50071      2179MDL03772344        4/7/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50072      2179MDL02055260        4/8/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50073      2179MDL01287507        4/9/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50074      2179MDL01287513       4/10/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50075      2179MDL00001788       4/11/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50076      2179MDL00015911       4/12/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50077      2179MDL03490019       4/13/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50078      2179MDL00002674       4/14/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50079      2179MDL00003614       4/15/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50080      2179MDL00003541       4/16/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50081      2179MDL00005433       4/17/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50082      2179MDL03426590       4/18/10     BP Daily Drilling Report                            Barnhill
                BP-HZN-
TREX-50083      2179MDL00004012       4/19/10     BP Daily Drilling Report                            Barnhill




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                BP-HZN-
TREX-50084      2179MDL00058851           4/4/10         DWH PPFG Report                                                        Barnhill

                BP-HZN-BLY00038424 -
TREX-50085      BP-HZN-BLY00038461                       Project Spacer                                                         Barnhill
                BP-HZN-
                2179MDL00062905 -
                BP-HZN-
TREX-50086      2179MDL00062912           1/12/10        Application for Revised New Well                                       Barnhill
                BP-HZN-
                2179MDL00001449 -
                BP-HZN-
TREX-50087      2179MDL00001456           1/25/10        Application for Revised New Well                                       Barnhill
                BP-HZN-
                2179MDL00001333 -
                BP-HZN-
TREX-50088      2179MDL00001336           3/10/10        Application for Permit to Modify                                       Barnhill
                BP-HZN-
                2179MDL00526317 -
                BP-HZN-
TREX-50089      2179MDL00526317           4/16/10        Application for Permit to Modify                                       Barnhill
                BP-HZN-FIN00000501-
TREX-50090      BP-HZN-FIN00000542     February 2009     Initial Exploration Plan: Macondo 252                                  Barnhill
                TRN-MDL-01534954 -
TREX-50091      TRN-MDL-01535172       February 2009     September 2009 Drilling Program                                        Barnhill
                BP-HZN-
                2179MDL01313651 -
                BP-HZN-
TREX-50092      2179MDL01313766        January 2010      January 2010 Drilling Program                                          Barnhill
                BP-HZN-
                2179MDL00857580 -
                BP-HZN-                                  8.5 x 9.875” Open Hole Mud Loss Event Summary by Lebleu to Hafle,
TREX-50093      2179MDL00857583           5/13/10        Morel, Cocales, Guide, Walz and Sims                                   Barnhill
TREX-50094                                               Power Point Presentation: Long String v. Liner                         Barnhill




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Trial Ex. No.        Bates No.          Date                                  Subject/Description                              Expert/Report
                                                   Power Point Presentation; Interim Incident Investigation Power Point
TREX-50095                             5/24/10     presented to the Presidential Commission                                       Barnhill
TREX-50096                                         Intentionally left blank                                                       Barnhill
TREX-50097                                         Intentionally left blank                                                       Barnhill
                BP-HZN-CEC009003 -                 GoM Exploration Wells MC 252 #1 - Macondo Prospect 9-7/8" Casing
TREX-50098      BP-HZN-CEC009019       1/27/10     Interval; TA Procedure Rev. 0 from Morel, et al.                               Barnhill
                                                   GoM Exploration Wells MC 252 #1 - Macondo Prospect 9-7/8" Casing
TREX-50099      BP-HZN-MBI00126181     4/12/10     Interval; TA Procedure Rev. 1 from B. Morel                                    Barnhill
                BP-HZN-CEC022025 -                 PowerPoint Presentation for MC 252 #1 Titled: TD Forward Plan Review:
TREX-50100      BP-HZN-CEC022038                   Production Casing & TA Options                                                 Barnhill
TREX-50101      BP-HZN-MBI00192560     4/14/10     BP Supplemental Authorization for Expenditure                                  Barnhill

                BP-HZN-MBI00143255 -
TREX-50102      BP-HZN-MBI00143257      4/7/10     BP Drilling & Completions MOC Initiate                                         Barnhill
                BP-HZN-
TREX-50103      2179MDL00286880        3/14/10     Cocales E-mail to Morel and Hafle re: FIT or LOT for Bypass                    Barnhill

                BP-HZN-MBI00059411 -
TREX-50104      BP-HZN-MBI00059412     3/24/09     Sims E-mail to Peijs and Hafle re: Macondo production liner cost               Barnhill
                BP-HZN-CEC021880 -
TREX-50105      BP-HZN-CEC021883       3/25/10     E-mail from Morel to A. Crane (BP) Re: Long String Cost Savings                Barnhill
TREX-50106                             3/29/10     Morel Reply E-mail to Gagliano Re: Cementing Liner Proposal                    Barnhill
                                                   Cocales Reply E-mail to Morel's 2:08 pm E-mail Re: Cementing Liner
TREX-50107                             3/29/10     Proposal, cc: Gagliano, Guide, Hafle                                           Barnhill
                BP-HZN-CEC021948 -
TREX-50108      BP-HZN-CEC021949       3/30/10     Email from Morel to S. Dobbs (BP Engineer) re: Long String Choice              Barnhill
TREX-50109                                         Intentionally left blank                                                       Barnhill
                BP-HZN-
                2179MDL00007611 -
                BP-HZN-                            R. Sant E-mail to B. Morel and M. Albertin and Bodek, Bellow, et. al. re:
TREX-50110      2179MDL00007614         4/5/10     Macondo Sand Pressures                                                         Barnhill
                BP-HZN-
                2179MDL01313256 -
                BP-HZN-
TREX-50111      2179MDL01313257        4/19/10     Hafle E-mail to Krauss (Baker Hughes) and Morel Re: GT Plug Standby            Barnhill



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TREX-50112                             4/20/10     Chaisson email to Gagliano re: cementing job and Post Job Report                Barnhill
TREX-50113                                         Intentionally left blank                                                        Barnhill

TREX-50114      BP-HZN-MBI00195376     4/20/10     Morel E-mail to Guide, Hafle, Cocales, Walz, and Sims Re: Cement Job            Barnhill

                BP-HZN-MBI00021237 -               Morel E-mail to Vidrine, Kaluza, Lambert, Lee, Guide, Hafle, Cocales, Walz
TREX-50115      BP-HZN-MBI00021282     4/20/10     Re: Ops Note for Coming Days and Negative Pressure Test                         Barnhill
TREX-50116                                         Intentionally left blank                                                        Barnhill
                                                   Morel email to Walz, Cocales, Hafle, Guide re: Negative test and mud
TREX-50117      BP-HZN-MBI00127490     4/15/10     displacement                                                                    Barnhill
TREX-50118                                         Intentionally left blank                                                        Barnhill

                BP-HZN-MBI00114524 -
TREX-50119      BP-HZN-MBI00114526     3/24/10     I. Little and J. Guide E-mails Re: TO DWH Performance Feedback                  Barnhill
                TRN-USCG_MMS-
TREX-50120      00044376                4/2/10     J. Guide E-mail to P. Johnson and Others Re: DWH 1 Yr. Recordable Free          Barnhill
                BP-HZN-
                2179MDL00014441 -
                BP-HZN-                            Sims E-mail to Kemper Howe, Frazelle, Rich, Sprague, O'Bryan, Guide,
TREX-50121      2179MDL00014447         4/9/10     Walz, et al. Re: Nile and Kaskida 180 Day Clock                                 Barnhill
TREX-50122      BP-HZN-CEC021857       4/14/10     E-mail Reply from Miller to Morel and Hafle Re: Macondo APB                     Barnhill
                BP-HZN-
                2179MDL00452491 -
                BP-HZN-
TREX-50123      2179MDL00452492        4/30/10     J. Lobule E-mail to Morel, Hafle, Walz, et al Re: Background LCM                Barnhill

                BP-HZN-BLY00111079 -               Reply from Walz to More, Hafle, Cocales, and Guide re: problems w/
TREX-50124      BP-HZN-BLY00111080     4/18/10     Gagliano and cement testing                                                     Barnhill

                BP-HZN-BLY00069231 -
TREX-50125      BP-HZN-BLY00069234     4/16/10     Morel E-mail to S Dobbs (BP Completions), Walz, et al Re: LS                    Barnhill


                BP-HZN-SNR00019270 -               Walz Reply E-mail to Morel (from 18:19), Cocales, Hafle Re: Cement
TREX-50126      BP-HZN-SNR00019272     4/16/10     Procedure                                                                       Barnhill



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Trial Ex. No.        Bates No.             Date                                     Subject/Description                             Expert/Report
TREX-50127                                             DWH Specifications Sheets Provided on Transocean’s Website                      Barnhill
TREX-50128                                             Rig Schematics Obtained from Various Investigation Reports                      Barnhill
TREX-50129                                8/24/07      IADC Well Control Accreditation Program - Program Number W726                   Barnhill
TREX-50130                                             Certificate of Accreditation: Transocean Houston Training Center                Barnhill

TREX-50131                                             Approved Instructor Certificates for Transocean Houston Training Center         Barnhill
TREX-50132                                             Training Certificates: Jimmy Harrell                                            Barnhill
TREX-50133                                             Training Certificates: Miles "Randy" Ezell                                      Barnhill
TREX-50134                                             Training Certificates: Jason Anderson                                           Barnhill
TREX-50135                                             Training Certificates: Dewey Revette                                            Barnhill
TREX-50136                                             Training Certificates: Donald Clark                                             Barnhill
TREX-50137                                             Training Certificates: Stephen Curtis                                           Barnhill
                HAL_0010592 -
TREX-50138      HAL_0010611               4/15/10      Macondo # 1 9 7/8 x 7 Production Casing Design Report - For: Brian Morel        Barnhill
                BP-HZN-CEC011444 -
TREX-50139      BP-HZN-CEC011445          4/17/10      9 7/8 x 7 Production Casing Proposal                                            Barnhill
                BP-HZN-CEC008381 -
TREX-50140      BP-HZN-CEC008382          4/18/10      9 7/8 x 7 Production Casing Proposal                                            Barnhill

                BP-HZN-MBI00010586 -
TREX-50141      BP-HZN-MBI00010693        9/28/09      Drilling Fluids Proposal Prepared by Blake Redd                                 Barnhill
TREX-50142                                             Weatherford Float Collar Schematic                                              Barnhill
                SLBEC000001 -
TREX-50143      SLBEC0000005                           Schlumberger Timeline                                                           Barnhill
                                                       Investigation Ticket – Determine if shearing capability prevented shearing
TREX-50144      TRN-INV-01827692          3/8/11       and sealing of the well                                                         Childs
                                                       Investigation Ticket – Were maintenance and operations carried out per
TREX-50145      TRN-INV-03405383          1/14/11      the U.S. Regulations (CFR) requirements?                                        Childs
                TRN-MDL-02791081 -                     E-mail from G. Childs to M. Thibodeaux with attached excerpt from 30 CFR
TREX-50146      TRN-MDL-02791089                       Part 250 referencing API.doc                                                    Childs
TREX-50147                                             RMS II Maintenance Plan – Mark II Pod PMs                                       Childs
                                                       American Petroleum Institute, Specification for Drill Through Equipment,
TREX-50148                             December 1997   16A, 2nd Edition                                                                Childs




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Trial Ex. No.         Bates No.              Date                                        Subject/Description                              Expert/Report
                                                           American Petroleum Institute, Specification for Control Systems for Drilling
                                                           Well Control Equipment and Control Systems for Diverter Equipment, 16D,
TREX-50149                                July 2004        2nd Edition                                                                       Childs
                                                           Stress Engineering Services Inc. Hydraulic Analysis of Macondo #252 Well
TREX-50150                                 4/27/11         Prior to Incident of April 20, 2010, Revision 1                                   Childs
                                                           Stress Engineering Services Inc. Structural Analysis of the Macondo #252
TREX-50151                                 May 2011        Work String                                                                       Childs
                                        4/5/10 - 4/15/10
TREX-50152                             4/15/10 - 4/20/10   Sperry Drilling Services' Data Logs                                               Childs
TREX-50153                                                 INTENTIONALLY LEFT BLANK                                                          Childs
TREX-50154      TRN-INV-00895140           5/26/10         BPTODDI, ERC E-mail to James Bjornstad, et al.                                    Childs
TREX-50155                                                 INTENTIONALLY LEFT BLANK                                                          Childs
                                                           Expro and Oceaneering Video Taken in the Bore of the BOP on Board the
TREX-50156                             September 2010      Q4000                                                                             Childs
TREX-50157      TRN-INV-01841838           6/25/08         Letter from Nick Wetzel, U.S. Department of the Interior, to BP                   Childs
                TRN-INV-01877450 -
TREX-50158      TRN-INV-01877478           3/24/11         Assembly and Test Procedure for Cameron Solenoid Valves                           Childs
                BP-HZN-
                2179MDL00161053 -
                BP-HZN-
TREX-50159      2179MDL00161067            3/15/10         Application for Bypass                                                            Childs
TREX-50160                                                 30 C.F.R. § 250.447 to 250.449                                                    Childs

                BP-HZN-MBI00135226 -
TREX-50161      BP-HZN-MBI00135227         2/23/10         Daily Operations Report                                                           Childs
TREX-50162                                 4/26/10         Boa Subsea Daily Log                                                              Childs
                CAM_CIV_0003105 -
TREX-50163      CAM_CIV_0003106          11/11/2009        Cameron Safety Alert 22258, Reduced Fatigue Life of Packer                        Childs
                TRN-INV-00125021 -                         Deepwater Horizon BOP Subsea Hydrostatic Test, Well Number MC252,
TREX-50164      TRN-INV-00125032       2/10/10 - 2/11/10   Macondo #1                                                                        Childs
TREX-50165                              8/4/11 - 8/6/11    Testing Notes from Transocean Internal Investigation                              Childs
                TRN-INV-03489816 -                         DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Sheet –
TREX-50166      TRN-INV-03489826           2/25/11         BOP Solenoid Drop Out and Pick Voltage Test                                       Childs
                TRN-MDL-02806164 -                         Email from Ewen Florence to Philippe Leclerc re: Cameron Accumulators
TREX-50167      TRN-MDL-02806169            9/20/10        true volume                                                                       Childs



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Trial Ex. No.         Bates No.         Date                                 Subject/Description                                Expert/Report
                TRN-MDL-02795251 -                  Email from Geoff Boughtton to Ronald Guidry re: Issue on the Horizon with
TREX-50168      TRN-MDL-02795255       5/9/2010     PIE Connectors                                                                 Childs
                TRN-INV-02853662 -
TREX-50169      TRN-INV-02853668       2/9/2011     DWH SEM Battery change outs                                                    Childs
                                                    A.C. Ely, “Improved Modeling of Sub-grid Pipework within a CFD Flow
TREX-50170                              2004        Simulation,” Master of Science Thesis, University of Leeds, 2004.              Rimkus
                                                    Ma Qingchun, and Zhang Laibin, "CFD Simulation Study on Gas
                                                    Dispersion for Risk Assessment: A Case Study of Sour Gas Well
                                                    Blowout," Safety Science Volume 49, Issues 8-9, October 2011, Pages
TREX-50171                             10/1/11      1289-1295.                                                                     Rimkus

TREX-50172                              2009        Pieter Wesseling, "Principles of Computational Fluid Dynamics," 2009.          Rimkus
TREX-50173                              2006        David C. Wilcox, "Turbulence Modeling for CFD," Third Edition, 2006.           Rimkus
                                                    R.V.A. Oliemans, "Computational Fluid Dynamics for the Petrochemical
TREX-50174                              1991        Process Industry," 1991.                                                       Rimkus
                                                    G. S. Denton, “CFD Simulation of Highly Transient Flows,” Ph.D. Thesis,
                                                    Department of Chemical Engineering, University College of London, July
TREX-50175                            July 2009     2009.                                                                          Rimkus
TREX-50176                                          ANSYS Fluid Dynamic Verification Manual                                        Rimkus
TREX-50177                                          ANSYS Fluent Getting Started Manual                                            Rimkus
TREX-50178                                          ANSYS Fluent Theory Guide                                                      Rimkus
TREX-50179                                          ANSYS Fluent Users Guide                                                       Rimkus
                                                    Deepwater Horizon, Marine Department Current Report, April 20, 2010
TREX-50180                             4/20/10      (1730)                                                                         Rimkus
                TRN-MDL-01632591 -
TREX-50181      TRN-MDL-01632658        2006        Deepwater Horizon Bridge Procedures Guide, 2006                                Rimkus
                TRN-INV-01998485 -
TREX-50182      TRN-INV-01998487                    Deepwater Horizon Wind Speed Scaling Spreadsheet                               Rimkus
                                                    Joint World Meteorological – Intergovernmental Oceanic Commission of
                                                    Unesco, Technical Commission for Oceanography and Marine
                                                    Meteorologist Observations Programme Area, Observing System
                                                    Monitoring Center (OSMC), www.osmc.noaa.gov (accessed August 9,
TREX-50183                                          2011)                                                                          Rimkus




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Trial Ex. No.        Bates No.            Date                                    Subject/Description                                Expert/Report
                                                         National Oceanic and Atmospheric Administration’s National Data Bouy
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TREX-50184                                               www.ndbc.noaa.gov/measdes.shtml (accessed August 9, 2011)                      Rimkus
                TRN-MDL-00488950
TREX-50185      TRN-MDL-00493499                         Transocean Investigation Team Interview of Andrea Fleytas                      Rimkus
TREX-50186                               4/20/10         Deepwater Enterprise, Marine Department Current Report                         Rimkus
TREX-50187                               4/20/10         Deepwater Enterprise, Morning Report.                                          Rimkus

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                                                         the Wind Speed Profile in the Marine Atmospheric Boundary Layer,”
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                                                         Rapid Depressurization and Blowdown of an Offshore Oil Pipeline," SPE
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TREX-50193                          11/7/00 - 11/10/00   China, Beijing, China.                                                         Rimkus
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TREX-50195                                1998           Oilfield Review, Summer 1998, pp. 36-49.                                       Rimkus
TREX-50196      TRN-INV-00402110         11/9/00         Photo: 11-9-00 V-V mix hopper- inbd chem lkg aft                               Rimkus
TREX-50197      TRN-INV-00402112         11/9/00         Photo: 11-9-00 V-V mix hopper- outbd chem lkg aft                              Rimkus
TREX-50198      TRN-INV-00401999         7/26/00         Photo: 7-26-00 stbd main diverter and C&K diverter lines                       Rimkus



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TREX-50199      TRN-INV-00402004       8/29/00       Photo: 8-29-00 mini trip tank in place                                      Rimkus
TREX-50200      TRN-INV-00402000       9/18/00       Photo: 9-18-00 stbd div ovrbd & c&k ovrbds                                  Rimkus
TREX-50201      TRN-INV-00402001        9/6/00       Photo: 9-6-00 stbd diverter ovrbd lines 01- lkg aft                         Rimkus
TREX-50202      TRN-INV-00402086                     Photo: dee's pictures 023                                                   Rimkus
TREX-50203      TRN-INV-00402123       6/15/05       Photo: DEEP WATER HORIZON JUNE 15, 2005 022                                 Rimkus
TREX-50204      TRN-INV-00402088       6/15/05       Photo: DEEP WATER HORIZON JUNE 15, 2005 024                                 Rimkus
TREX-50205      TRN-INV-00384926        1/1/01       Photo: DSCN2595                                                             Rimkus
TREX-50206      TRN-INV-00795445                     Photo: DWH Aft_Starboard.3                                                  Rimkus
TREX-50207      TRN-INV-00795108                     Photo: Gumbo Box Camera                                                     Rimkus
TREX-50208      TRN-INV-00402116        3/5/01       Photo: Sackrm 3-05-01                                                       Rimkus
TREX-50209      TRN-INV-00402117        3/5/01       Photo: Sackroom 3-05-01                                                     Rimkus
                                                     M. N. Malik, M. Afzal and G. F. Tariq, and N. Ahmed, “Mathematical
                                                     Modeling and Computer Simulation of Transient Flow in Centrifuge
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TREX-50210                           August 1998     Mathematics with Applications , Volume 36, Issue 4, pp. 63-76.              Rimkus
                TRN-INV-00570385 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50211      TRN-INV-00570386                     Drawing Number HRBS-H68-000-H1010-1                                         Rimkus
                TRN-INV-00570393 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50212      TRN-INV-00570394                     Drawing Number HRBS-H68-000-H1010-2                                         Rimkus
                TRN-INV-00570395 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50213      TRN-INV-00570396                     Drawing Number HRBS-H68-000-H1010-3                                         Rimkus
                TRN-INV-00570397 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50214      TRN-INV-00570398                     Drawing Number HRBS-H68-000-H1010-4                                         Rimkus
                TRN-INV-00570399 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50215      TRN-INV-00570400                     Drawing Number HRBS-H68-000-H1010-5                                         Rimkus
                TRN-INV-00570401 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50216      TRN-INV-00570402                     Drawing Number HRBS-H68-000-H1010-6                                         Rimkus
                TRN-INV-00570403 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50217      TRN-INV-00570404                     Drawing Number HRBS-H68-000-H1010-7                                         Rimkus
                TRN-INV-00570405 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50218      TRN-INV-00570406                     Drawing Number HRBS-H68-000-H1010-8                                         Rimkus
                TRN-INV-00570407 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50219      TRN-INV-00570408                     Drawing Number HRBS-H68-000-H1010-9                                         Rimkus
                TRN-INV-00345151 -                   Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50220      TRN-INV-00345152                     Drawing Number HRBS-H68-000-H1010-10                                        Rimkus



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                TRN-INV-00570387 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50221      TRN-INV-00570388                  Drawing Number HRBS-H68-000-H1010-11                                           Rimkus
                TRN-INV-00345153 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50222      TRN-INV-00345154                  Drawing Number HRBS-H68-000-H1010-12                                           Rimkus
                TRN-INV-00570391 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50223      TRN-INV-00570392                  Drawing Number HRBS-H68-000-H1010-13                                           Rimkus

                TRN-INV-00570381 -                Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50224      TRN-INV-00570382                  System for Section & Elevation, Drawing Number HRBS-H68-000-H1080-1            Rimkus

                TRN-INV-00570383 -                Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50225      TRN-INV-00570384                  System for Section & Elevation, Drawing Number HRBS-H68-000-H1080-2            Rimkus

                TRN-INV-00570377 -                Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50226      TRN-INV-00570378                  System for Main Deck, El. 41500, Drawing Number HRBS-H68-000-H1060             Rimkus

                TRN-INV-00570379 -                Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50227      TRN-INV-00570380                  System for Substructure, Drawing Number HRBS-H68-000-H1070                     Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
                TRN-INV-00570375 -                System for Second Deck, El. 38000, Drawing Number HRBS-H68-000-
TREX-50228      TRN-INV-00570376                  H1050                                                                          Rimkus

                TRN-INV-00570373 -                Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50229      TRN-INV-00570374                  System for Third Deck, El. 34500, Drawing Number HRBS-H68-000-H1040            Rimkus
                TRN-INV-00570342 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50230      TRN-INV-00570343                  Column, Drawing Number HRBS-H68-000-H1030-1                                    Rimkus
                TRN-INV-00570358 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50231      TRN-INV-00570360                  Column, Drawing Number HRBS-H68-000-H1030-2                                    Rimkus
                TRN-INV-00570361 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50232      TRN-INV-00570363                  Column, Drawing Number HRBS-H68-000-H1030-3                                    Rimkus
                TRN-INV-00570364 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50233      TRN-INV-00570365                  Column, Drawing Number HRBS-H68-000-H1030-4                                    Rimkus
                TRN-INV-00570366 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50234      TRN-INV-00570367                  Column, Drawing Number HRBS-H68-000-H1030-5                                    Rimkus




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                TRN-INV-00570368 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50235      TRN-INV-00570370                  Column, Drawing Number HRBS-H68-000-H1030-6                                    Rimkus
                TRN-INV-00570371 -                Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50236      TRN-INV-00570372                  Column, Drawing Number HRBS-H68-000-H1030-7                                    Rimkus
                TRN-INV-00570344 -                Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50237      TRN-INV-00570345                  Pontoon, Drawing Number HRBS-H68-000-H1020-1                                   Rimkus
                TRN-INV-00570346 -                Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50238      TRN-INV-00570347                  Pontoon, Drawing Number HRBS-H68-000-H1020-2                                   Rimkus
                TRN-INV-00570348 -                Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50239      TRN-INV-00570349                  Pontoon, Drawing Number HRBS-H68-000-H1020-3                                   Rimkus
                TRN-INV-00570350 -                Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50240      TRN-INV-00570351                  Pontoon, Drawing Number HRBS-H68-000-H1020-4                                   Rimkus
                TRN-INV-00570352 -                Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50241      TRN-INV-00570354                  Pontoon, Drawing Number HRBS-H68-000-H1020-5                                   Rimkus
                TRN-INV-00570355 -                Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50242      TRN-INV-00570357                  Pontoon, Drawing Number HRBS-H68-000-H1020-6                                   Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Drill Floor Plan, Drawing
TREX-50243      TRN-INV-00043511                  Number A-AA 1011                                                               Rimkus
                                                  Engineering Drawings of Deepwater Horizon: General Arrangement
TREX-50244      TRN-INV-01749754                  Second Deck, Drawing Number HRBS-058-000-P0608                                 Rimkus
                                                  Engineering Drawings of Deepwater Horizon: General Arrangement Third
TREX-50245      TRN-INV-03465510                  Deck, Drawing Number A-AA 1004                                                 Rimkus
                                                  Engineering Drawings of Deepwater Horizon: General Arrangement Main
TREX-50246      TRN-INV-03408184                  Deck, Drawing Number A-AA 1002                                                 Rimkus
                TRN-INV-00572054 -                Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor Above
TREX-50247      TRN-INV-00572055                  El. 4600, Drawing Number HRBS-P61-U00-P6010-1, Rev. 1                          Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor Above
TREX-50248      TRN-INV-03408149                  El. 4600, Drawing Number HRBS-P61-U00-P6010-2, Rev. 1                          Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor El.
TREX-50249      TRN-INV-03408150                  45891 ~ El. 43391, Drawing Number HRBS-P61-U00-P6020-1, Rev. 2                 Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor El.
TREX-50250      TRN-INV-03408152                  45891 ~ El. 43391, Drawing Number HRBS-P61-U00-P6020-2, Rev. 2                 Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor El.
TREX-50251                                        45891 ~ El. 43391, Drawing Number HRBS-P61-U00-P6020-3, Rev. 2                 Rimkus




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TREX-50252      TRN-INV-03408151                  45891 ~ El. 43391, Drawing Number HRBS-P61-U00-P6020-4, Rev. 2              Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor El.
TREX-50253      TRN-INV-03408153                  45891 ~ El. 43391, Drawing Number HRBS-P61-U00-P6020-5, Rev. 2              Rimkus
                TRN-INV-00572018 -                Engineering Drawings of Deepwater Horizon: Piping Plan Main Deck El.
TREX-50254      TRN-INV-00572019                  41500 (MMA-2), Drawing Number HRBS-P61-U00- P6112, Rev. 2                   Rimkus

                TRN-INV-00572020 -                Engineering Drawings of Deepwater Horizon: Piping Plan Main Deck El.
TREX-50255      TRN-INV-00572021                  41500 (MA-2-1 & MA2-2), Drawing Number HRBS-P61-U00-P6121, Rev. 1           Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Pipe Support Locations
                                                  Second Deck El. 38000 (MMA4), Drawing Number HRBS-P61-U00-P6212,
TREX-50256      TRN-INV-03408154                  Rev. 1                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Pipe Support Locations
                                                  Second Deck El. 38000 (MMA3), Drawing Number HRBS-P61-U00-P6222,
TREX-50257      TRN-INV-03408155                  Rev. 3                                                                      Rimkus
                TRN-INV-00572118 -                Engineering Drawings of Deepwater Horizon: Piping Plan Main Deck El.
TREX-50258      TRN-INV-00572119                  41500 (MMS-2), Drawing Number HRBS-P61-U00-P6133-1, Rev. 1                  Rimkus
                TRN-INV-00572120 -                Engineering Drawings of Deepwater Horizon: Piping Plan Main Deck El.
TREX-50259      TRN-INV-00572121                  41500 (MMS-2), Drawing Number HRBS-P61-U00-P6133-2, Rev. 1                  Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Machinery Arrangement
TREX-50260      TRN-INV-02843802                  Shale Shaker Room, Drawing Number HRBS-M57-U00-H5100-1                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Machinery Arrangement
TREX-50261      TRN-INV-02843803                  Shale Shaker Room, Drawing Number HRBS-M57-U00-H5100-2                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  Low Pressure Mud System, Drawing Number HRBS-P78-000-P0031-1,
TREX-50262                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  Low Pressure Mud System, Drawing Number HRBS-P78-000-P0031-2,
TREX-50263                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  Low Pressure Mud System, Drawing Number HRBS-P78-000-P0031-3,
TREX-50264                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  Low Pressure Mud System, Drawing Number HRBS-P78-000-P0031-4,
TREX-50265                                        Rev. 4                                                                      Rimkus



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                                                  Low Pressure Mud System, Drawing Number HRBS-P78-000-P0031-5,
TREX-50266                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  Low Pressure Mud System, Drawing Number HRBS-P78-000-P0031-6,
TREX-50267                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  High Pressure Mud System, Drawing Number HRBS-P78-000-P0032-1,
TREX-50268      TRN-INV-03408156                  Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  High Pressure Mud System, Drawing Number HRBS-P78-000-P0032-2,
TREX-50269                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  High Pressure Mud System, Drawing Number HRBS-P78-000-P0032-3,
TREX-50270                                        Rev. 4                                                                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  High Pressure Mud System, Drawing Number HRBS-P78-000-P0032-4,
TREX-50271                                        Rev. 4                                                                      Rimkus

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TREX-50272                                        Mud Return System, Drawing Number HRBS-P78-000-P0045-1, Rev. 4              Rimkus

                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50273                                        Mud Return System, Drawing Number HRBS-P78-000-P0045-2, Rev. 4              Rimkus

                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50274                                        Mud Return System, Drawing Number HRBS-P78-000-P0045-3, Rev. 4              Rimkus

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TREX-50275      TRN-INV-03408157                  Choke and Kill System, Drawing Number HRBS-P78-000-P0047-1, Rev. 3          Rimkus

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TREX-50276                                        Choke and Kill System, Drawing Number HRBS-P78-000-P0047-2, Rev. 3          Rimkus




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                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                  Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50278                                        HRBS-P78-000-P0023-1, Rev. 2                                                Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578716 -                Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50279      TRN-INV-00578717                  HRBS-P78-000-P0023-2, Rev. 2                                                Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578718 -                Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50280      TRN-INV-00578719                  HRBS-P78-000-P0023-3, Rev. 2                                                Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578720 -                Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50281      TRN-INV-00578721                  HRBS-P78-000-P0023-4, Rev. 2                                                Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578722 -                Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50282      TRN-INV-00578723                  HRBS-P78-000-P0023-5, Rev. 2                                                Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578724 -                Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50283      TRN-INV-00578725                  HRBS-P78-000-P0023-6, Rev. 2                                                Rimkus
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                TRN-INV-00578726 -                Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50284      TRN-INV-00578727                  HRBS-P78-000-P0023-7, Rev. 2                                                Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Mark 2 Control POD TOP
TREX-50285      CAM_CIV_0022734                   Assembly, Drawing Number SK-122108-21-04, Sheet 1 of 2                      Rimkus
                                                  Engineering Drawings of Deepwater Horizon: Mark 2 Control POD TOP
TREX-50286      CAM_CIV_0022735                   Assembly, Drawing Number SK-122108-21-04, Sheet 2 of 2                      Rimkus
                TRN-INV-00345955 -                Engineering Drawings of Deepwater Horizon: Flow Diagram Mark 2 Control
TREX-50287      TRN-INV-00345956                  POD, Drawing Number SK-122108-21-05, Sheet 1 of 3                           Rimkus
                TRN-INV-00345957 -                Engineering Drawings of Deepwater Horizon: Flow Diagram Mark 2 Control
TREX-50288      TRN-INV-00345958                  POD, Drawing Number SK-122108-21-05, Sheet 2 of 3                           Rimkus
                TRN-INV-00345959 -                Engineering Drawings of Deepwater Horizon: Flow Diagram Mark 2 Control
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TREX-50292      TRN-INV-00030741                   Drawing Number SK-122124-21-05, Sheet 3 of 3                           Rimkus
                                                   Engineering Drawings of Deepwater Horizon: Shear Ram Kit, Drawing
TREX-50293      TRN-INV-00030738                   Number SK-122-619-21-05                                                Rimkus
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TREX-50294      TRN-MDL-00491691       6/21/10     Transocean Investigation Team Interview of Paul Meinhart               Rimkus
                TRN-MDL-00488950
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TREX-50295      TRN-MDL-00493082       5/20/10     Transocean Investigation Team Interview of Jimmy Harrell               Rimkus
                TRN-MDL-00488950
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TREX-50296      TRN-MDL-00493746       5/28/10     Transocean Investigation Team Interview of Mark Ezell                  Rimkus
                TRN-MDL-00488950
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TREX-50297      TRN-MDL00491742         6/2/10     Transocean Investigation Team Interview of Patrick Morgan              Rimkus
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TREX-50298      TRN-MDL-00492284        6/2/10     Transocean Investigation Team Interview of Buddy Trahan                Rimkus
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TREX-50299      TRN-MDL-00491782       6/30/10     Transocean Investigation Team Interview of Chad Murray                 Rimkus



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                TRN-MDL-00490944
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TREX-50300      TRN-MDL-00490972      6/21/10     Transocean Investigation Team Interview of James Ingram              Rimkus
                TRN-MDL-00488950
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TREX-50301      TRN-MDL-00493653      7/19/10     Transocean Investigation Team Interview of Joseph Evans              Rimkus
                TRN-MDL-00488950
                TRN-MDL-00490859 -
                TRN-MDL-00490860
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TREX-50302      TRN-MDL-00490870      5/28/10     Transocean Investigation Team Interview of Caleb Holloway            Rimkus
                TRN-MDL-00488950
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TREX-50303      TRN-MDL-00491323       6/2/10     Transocean Investigation Team Interview of Yancy Keplinger           Rimkus
                TRN-MDL-00488950
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TREX-50304      TRN-MDL-00493497      6/24/10     Transocean Investigation Team Interview of Andrea Fleytas            Rimkus
                TRN-MDL-00488950
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                TRN-MDL-00491994
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TREX-50305      TRN-MDL-00492000      5/20/10     Transocean Investigation Team Interview of Christopher Pleasant      Rimkus
                TRN-MDL-00488950
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                TRN-MDL-00492532 -
TREX-50306      TRN-MDL-00492533       6/1/10     Transocean Investigation Team Interview of David Young               Rimkus
TREX-50307      BP-HZN-MBI00129622     5/4/10     “Bly” Investigation Interview of Brandon Boullioun                   Rimkus
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TREX-50308      TRN-MDL-00491214       6/1/10     Transocean Investigation Team Interview of Cole Jones                Rimkus




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TREX-50310      TRN-MDL-00490165       6/17/10      Transocean Investigation Team Interview of Kennedy Cola                   Rimkus
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                TRN-MDL-00489778 -
TREX-50311      TRN-MDL-00489779       7/21/10      Transocean Investigation Team Interview of Joseph Anderson                Rimkus
                                                    International Maritime Organization, Code for the Construction and
TREX-50312                                          Equipment of Mobile Offshore Drilling Units, 2001                         Rimkus
                TRN-INV-00372315 -
TREX-50313      TRN-INV-00372316                    Drawing, Hazardous Area Classification (Above Main Deck Level)            Rimkus
TREX-50314      TRN-INV-00570542                    Drawing, Hazardous Area Classification (Drill Floor)                      Rimkus
TREX-50315      TRN-INV-00372317                    Drawing, Hazardous Area Classification (Main Deck El 41500)               Rimkus
TREX-50316      TRN-INV-00570546                    Drawing, Hazardous Area Classification (Second Deck El 38000)             Rimkus
TREX-50317      TRN-INV-00570548                    Drawing, Hazardous Area Classification (Third Deck El 34500)              Rimkus
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TREX-50319      TRN-INV-01695276                    I69-000-H-0025, Rev. K                                                    Rimkus
                                                    Kongsberg Simrad, Integrated Automation & Control System, R&B Falcon
TREX-50320      TRN-INV-00195012                    RBS8D, Deepwater Horizon, Rev. 3, 38-42                                   Rimkus
                                                    Engineering Recommendation, Deepwater Horizon — Engine Room
TREX-50321      TRN-MDL-02063282                    Ventilation Controls                                                      Rimkus
TREX-50322                                          Detcon Inc., Calibration Equipment Brochure, Cal Gas Kits                 Rimkus
TREX-50323                             5/28/09      Transocean, Reptitive Work Order 8709-002757-000©                         Rimkus
                                                    American Bureau of Shipping Certificate of Classification, Deepwater
TREX-50324      TRN-MDL-00272528       10/19/09     Horizon, A1, Column Stabilized Drilling Unit, AMS, ACCU, DPS-3            Wolfe
                                                    American Bureau of Shipping Drydocking Survey Checklist, Report
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                TRN-MDL-01100188 -                 American Bureau of Shipping Statutory Survey Report for Deepwater
TREX-50327      TRN-MDL-01100194      3/11/10      Horizon, Report Number MC1794166                                             Wolfe
                TRN-HCJ-00076328 -                 IADC Daily Drilling Report Report, Apr. 18, 2010, Deepwater Horizon at MC
TREX-50328      TRN-HCJ-00076331      4/18/10      252#1 ST0D                                                                   Wolfe
                TRN-MDL-00272560 -
TREX-50329      TRN-MDL-00272562      6/11/06      Mobile Offshore Drilling Unit Safety Certificate (1989), Deepwater Horizon   Wolfe
                TRN-MDL-01101586 -                 Republic of the Marshall Islands Report of Safety Inspection for
TREX-50330      TRN-MDL-01101589      12/22/09     MODU/MOU, Date of Inspection: 17-Dec-09.                                     Wolfe
                TRN-INV-00085711 -                 RMS II Equipment History report, System: ELPG, Component: ENG, 16
TREX-50331      TRN-INV-00085816      3/16/10      Mar 2009 to 16 Mar 2010                                                      Wolfe
                PSC-MDL2179014036 -                Subpoena Response of Wartsila North America to BP MDL Plaintiffs’
TREX-50332      PSC-MDL2179014074      7/19/11     Steering Committee                                                           Wolfe
TREX-50333      TRN-MDL-00030777      11/22/09     Transocean Deepwater Horizon Safety Drill Report, Abandon Ship Drill         Wolfe
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TREX-50335      TRN-INV-02643171       4/1/10      Transocean Deepwater Horizon Safety Drill Reports, Apr. 2010                 Wolfe
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TREX-50337      HCG059-000007         4/21/10      U.S. Coast Guard Witness Statement of Brandon Boullion                       Wolfe
TREX-50338      HCG059-000008         4/21/10      U.S. Coast Guard Witness Statement of Brian Dolliole                         Wolfe
TREX-50339      HCG059-000016.        4/21/10      U.S. Coast Guard Witness Statement of Chad Murray                            Wolfe
TREX-50340      HCG059-000043         4/21/10      U.S. Coast Guard Witness Statement of Darin Rupinski                         Wolfe
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TREX-50342      HCG059-000056         4/21/10      U.S. Coast Guard Witness Statement of Eric Estrada                           Wolfe
TREX-50343      HCG059-000059         4/21/10      U.S. Coast Guard Witness Statement of Greg Meche                             Wolfe
TREX-50344      HCG059-000043         4/21/10      U.S. Coast Guard Witness Statement of Kevin Eugen                            Wolfe
TREX-50345      HCG059-000090         4/21/10      U.S. Coast Guard Witness Statement of Michael Williams                       Wolfe
TREX-50346      HCG059-000094         4/21/10      U.S. Coast Guard Witness Statement of Miles Randall Ezell                    Wolfe
TREX-50347      HCG059-000114         4/21/10      U.S. Coast Guard Witness Statement of Shane Faulk                            Wolfe
TREX-50348      HCG059-000115         4/21/10      U.S. Coast Guard Witness Statement of Stanley Carden                         Wolfe
TREX-50349      HCG059-000123         4/21/10      U.S. Coast Guard Witness Statement of Steven Richards                        Wolfe
TREX-50350      HCG059-000142         4/21/10      U.S. Coast Guard Witness Statement of Yancy Keplinger                        Wolfe
                                                   43 U.S.C. § 1348 - Sec. 1348. Enforcement of safety and environmental
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                                               46 C.F.R. § 107.267; Coast Guard Marine Safety Manual, Vol. II, Section
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TREX-50355                                     46 U.S.C. § 3316 - Sec. 3316. Classification Societies                          Wolfe
                                               ABS Rules for Building and Classing Steel Vessels, Part 4, Chapter 2,
TREX-50356                        1/1/12       Section 1, Subsection 7.5.                                                      Wolfe
                                               Code for the Construction and Equipment of Mobile Offshore Drilling Units,
TREX-50357                                     1989 (1989 MODU Code) with 1991 and 1994 amendments                             Wolfe
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                                               Design and Operation of Dynamically Positioned Vessels (available at
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